Case 2:05-cr-20208-SH|\/| Document 15 Filed 06/08/05 Page 1 of 2 Page|D 6

lN me UNITED sTATEs DIsTRlCT COURT :~"1- ~ s .:1~-: ”\/VG-;:.
FoR THE WESTERN DISTRICT oF TENNEssEE
EASTERN DIVISION 05 Jtttt -8 Ptt I_:= 99

 

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UNITED STATES OF AMERICA 1111_1 1 ns Tz~t, MEMPH€S

 

   

V.

PEGGY ENGLAND ]OHNSON 05cr20208-Ma

 

ORDER ON ARRAIGNMENT

This cause came to be heard on § é,_)¢ h g 3 : &JQ§ the United States Attorney
for this district appeared on behalf of the g emment, and the defendant appeared m person and with

counsel:
NAME g how Who is Retained/Appointed.
\»/ ..»---_"*"'"

The defendant, through coun sel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

_The defendant Who ls not in custody, may stand on his resent bond.

¢£The defendant, (not having made/l:)ond) (being a eprisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984) is remanded to the custody

of the U. S Marshal. /._.__-(_P’Q
L/\-/\' M`
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:2113
BANK ROBBERY BY FORCE OR VIOLENCE

Attorney assigned to Case: T. Arvin

Age: 5&

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20208 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Tony R. Arvin

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Honorable Sarnuel Mays
US DISTRICT COURT

